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                  UNITED STATES DISTRICT COURT
                    DISTRICT OF CONNECTICUT

RYAN MERHOLZ, and MELVYN KLEIN,
Derivatively On Behalf Of WORLD WRESTLING
ENTERTAINMENT, INC.,
                         Plaintiffs,
                    v.
VINCENT K. MCMAHON, STEPHANIE                 Case No.: 3:20-cv-00557-VAB
MCMAHON, PAUL LEVESQUE, FRANK A.
RIDDICK, III, STUART U. GOLDFARB,
LAUREEN ONG, ROBYN W. PETERSON, MAN
JIT SINGH, JEFFREY R. SPEED, ALAN M.
WEXLER, GEORGE A. BARRIOS, and
MICHELLE D. WILSON,
                         Defendants,

WORLD WRESTLING ENTERTAINMENT, INC.,
                         Nominal Defendant.


DANIEL KOOI, derivatively on behalf of
WORLD WRESTLING ENTERTAINMENT, INC.,
                         Plaintiff,
                    v.
VINCENT K. MCMAHON, FRANK A. RIDDICK,
III, JEFFREY R. SPEED, PATRICIA A.            Case No.: 3:20-CV-00743-VAB
GOTTESMAN, STUART U. GOLDFARB,
LAUREEN ONG, PAUL LEVESQUE, ROBYN W.
PETERSON, STEPHANIE MCMAHON, MAN JIT
SINGH, ALAN M. WEXLER, GEORGE A.
BARRIOS, and MICHELLE D. WILSON,
                         Defendants,

WORLD WRESTLING ENTERTAINMENT, INC.,
                         Nominal Defendant.
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 RODNEY NORDSTROM, derivatively on behalf of
 WORLD WRESTLING ENTERTAINMENT, INC.,
                               Plaintiff,
                          v.
 VINCENT K. MCMAHON, GEORGE A.
 BARRIOS, MICHELLE D. WILSON,
 STEPHANIE MCMAHON, PAUL LEVESQUE,                      Case No.: 3:20-CV-00904-VAB
 FRANK A. RIDDICK III, STUART U.
 GOLDFARB, LAUREEN ONG, ROBYN W.
 PETERSON, MAN JIT SINGH, JEFFREY R.
 SPEED, ALAN M. WEXLER, and PATRICIA A.
 GOTTESMAN,
                               Defendants,

 WORLD WRESTLING ENTERTAINMENT, INC.,
                               Nominal Defendant.



                     DECLARATION OF JUSTIN ANDERSON

       Justin Anderson, pursuant to 28 U.S.C. § 1746, declares as follows:

       1.      I am a partner at the law firm Paul, Weiss, Rifkind, Wharton & Garrison,

LLP, attorneys for Defendants Vincent K. McMahon, George A. Barrios, Michelle D.

Wilson, Stephanie McMahon, Paul Levesque, Frank A. Riddick III, Stuart U. Goldfarb,

Laureen Ong, Robyn W. Peterson, Man Jit Singh, Jeffrey R. Speed, Alan M. Wexler, and

Patricia A. Gottesman, as well as the Nominal Defendant, World Wrestling

Entertainment, Inc. (“WWE”) (collectively, “Defendants”) in the above-captioned

actions. I respectfully submit this Declaration in support of the motion by Defendants to

dismiss the Verified Second Amended Stockholder Derivative Complaint in Merholz et

al. v. McMahon et al., 20-cv-557 (D. Conn. Aug. 13, 2020), ECF No. 43, the Verified

Amended Shareholder Derivative Complaint in Kooi v. McMahon et al., 20-cv-743 (D.



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Conn. July 3, 2020), ECF No. 36, and the Verified Amended Shareholder Derivative

Complaint in Nordstrom v. McMahon et al., 20-cv-904 (D. Conn. Aug. 14, 2020), ECF

No. 45 (collectively, “the Complaints”).

       2.      I submit this Declaration in support of Defendants’ Motion to Dismiss

Shareholder Derivative Complaints.

       3.      Attached as Exhibit 1 is a true and accurate copy of WWE’s April 16,

2020 NYSE Domestic Section 303A Written Affirmation.

       4.      Attached as Exhibit 2 is a true and accurate copy of WWE’s Amended and

Restated Certificate of Incorporation.

       5.      Attached as Exhibit 3 is a true and accurate copy of an August 21, 2020

Letter from Gregory M. Egleston to Jeffrey P. Mueller.

       6.      Attached as Exhibit 4 is a true and accurate copy of an August 26, 2020

Letter from James M. Ficaro to Jeffrey P. Mueller.

       7.      Attached as Exhibit 5 is a true and accurate copy of an August 17, 2020

email from Justin Kuehn to Jeffrey P. Mueller.

       8.      Attached as Exhibit 6 is a true and accurate copy of WWE’s April 25,

2019 Press Release reporting WWE’s First Quarter 2019 Results.

       9.      Attached as Exhibit 7 is a true and accurate copy of a Form 4 filed with

the United States Securities and Exchange Commission on July 23, 2019.

       10.     Attached as Exhibit 8 is a true and accurate copy of an 8-K filed with the

United States Securities and Exchange Commission on March 27, 2019.

       11.     Attached as Exhibit 9 is a true and accurate copy of a Form 4 filed with

the United States Securities and Exchange Commission on August 1, 2018.




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       12.    Attached as Exhibit 10 is a true and accurate copy of a Form 4 filed with

the United States Securities and Exchange Commission on August 7, 2015.

       13.    Attached as Exhibit 11 is a true and accurate copy of a Form 4 filed with

the United States Securities and Exchange Commission on August 19, 2016.

       14.    Attached as Exhibit 12 is a true and accurate copy of a Form 4 filed with

the United States Securities and Exchange Commission on August 22, 2016.

       15.    Attached as Exhibit 13 is a true and accurate copy of a Form 4 filed with

the United States Securities and Exchange Commission on August 3, 2017.

              I declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct to the best of my knowledge.



Dated: Washington, D.C.
       August 28, 2020



                                                           ____________________
                                                           Justin Anderson




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